Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16   PageID.1953   Page 1 of 55



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TIMOTHY KERRIGAN et al.,

       Plaintiffs,                              Case No. 14-cv-12693
                                                Hon. Matthew F. Leitman
 v.

 VISALUS, INC. et al.,

      Defendants.
 ________________________________/



  OPINION AND ORDER GRANTING IN PART AND DENYING IN PART
        DEFENDANTS’ MOTIONS TO DISMISS (ECF ## 61, 62)
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1954      Page 2 of 55



       In   their   First   Amended    Complaint,    Plaintiffs    Timothy    Kerrigan

 (“Kerrigan”), Lori Mikovich (“Mikovich”), and Ryan Valli (“Valli”) (collectively,

 “Plaintiffs”) allege that they were defrauded by an illegal scheme created and

 operated by the Defendants. Plaintiffs say that in 2012 and 2013 they attended

 events promoting Defendant ViSalus, Inc. (“ViSalus”), a retailer of weight-loss

 shakes. (See First Am. Compl., ECF #55 at ¶¶ 8-14.) Plaintiffs allege that at these

 events, they were misled into paying to enroll in the “ViSalus Program” – the

 system through which “individual promoters” (“IPs”) earn commissions and

 bonuses for selling ViSalus products and recruiting other IPs. Plaintiffs insist that

 the ViSalus Program is a fraudulent pyramid scheme, and they claim that they lost

 all of the money they paid to ViSalus to enroll in the program.

       Plaintiffs first filed this action against ViSalus and many individuals and

 entities allegedly associated with ViSalus on July 9, 2014 (the “Complaint”). (See

 ECF #1.) Plaintiffs alleged in the Complaint that the Defendants violated, and

 conspired to violate, the Racketeer Influenced and Corrupt Organizations Act, 18

 U.S.C. § 1961 et seq. (“RICO”). (See id.) Plaintiffs also alleged that Defendants

 violated several Michigan statutes. Finally, Plaintiffs asserted multiple claims

 under Michigan common law. (See id.) The Defendants moved to dismiss the

 Complaint under Rule 12(b)(6) of the Federal Rules of Civil Procedure (see ECF

 ## 35-37), and, by written order, the Court granted the motions in part and directed



                                          1
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                     PageID.1955   Page 3 of 55



 Plaintiffs to file a First Amended Complaint (the “First Dismissal Order”). (See

 ECF #54.) On July 10, 2015, Plaintiffs filed a First Amended Complaint.1 (See

 ECF #55.) Defendants have now again moved under Rule 12(b)(6) to dismiss

 many of the claims brought against them (the “Motions”).2 (See ECF ## 61, 62.)

 For the reasons explained below, the Motions are GRANTED IN PART and

 DENIED IN PART.

                                                                I.

               In the First Amended Complaint, Plaintiffs assert the following claims

 against the Defendants:

                             In count one (see First Am. Compl. at ¶¶ 117-200), Plaintiffs allege
                              that Defendants ViSalus, Robert Goergen, Sr. (“Goergen Sr.”), Todd
                              Goergen (“Goergen”), Nick Sarnicola (“Sarnicola”), Ryan Blair
                              (“Blair”), Blake Mallen (“Mallen”), Jason O’Toole (“O’Toole”), Kyle
                                                             
 1
   The Court included a detailed recitation of the alleged factual background in the
 First Dismissal Order. (See First Dismissal Order at 2-10, Pg. ID 883-91.) The
 Court incorporates that recitation by reference. In addition, Plaintiffs have
 included many new allegations against the Defendants in the First Amended
 Complaint. Any additional factual allegations that are relevant to a determination
 of the currently pending motions to dismiss will be identified and discussed herein.
 For the purposes of this Opinion and Order, the Court accepts these factual
 allegations as true.
 2
   Plaintiffs have brought the First Amended Complaint against some, but not all, of
 the Defendants named in the Complaint. Plaintiffs have not re-pleaded any
 allegations against individuals Jake Trzcinski, Lavon Craig, Anthony Lucero,
 Rhonda Lucero, and Joshua Jackson. Nor have Plaintiffs re-pleaded any
 allegations against entities ViSalus Holdings, LLC, Mojos Legacy, LLC, Fragmob,
 LLC, iCentris, Inc., and Jakertz, Inc.


                                                                2
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                        PageID.1956     Page 4 of 55



                              Pacetti, Jr. (“Pacetti”), Michael Craig (“Craig”), Aaron Fortner
                              (“Fortner”), Rachel Jackson (“Jackson”), Frank Varon (“Varon”), Lori
                              Petrilli (“Petrilli”), Tara Wilson (“Wilson”), and Timothy Kirkland
                              (“T. Kirkland”) violated Section 1962(c) of RICO through their
                              operation and promotion of the ViSalus Program.
                             In count two (see id. at ¶¶ 201-214), Plaintiffs claim that all
                              Defendants violated Section 1962(d) of RICO by conspiring to violate
                              Section 1962(c).
                             In count three (see id. at ¶¶ 215-223), Plaintiffs assert that Defendants
                              ViSalus, Goergen Sr., Goergen, Sarnicola, Blair3, and Mallen (the
                              “ViSalus Defendants”) violated 5 U.S.C. § 78j(b) (“Section 10b”) and
                              17 C.F.R. § 240.10b-5 (“Rule 10b-5”) of the federal securities laws.
                             In count four (see id. at ¶¶ 224-230), Plaintiffs allege that all
                              Defendants violated 15 U.S.C. § 77l(a)(2) (“Section 12(2)”) of the
                              federal securities laws.
                             In count five (see id. at ¶¶ 231-234) Plaintiffs assert that ViSalus
                              violated Section 903b of the Michigan Consumer Protection Act (the
                              “MCPA”).
                             In count six (see id. at ¶¶ 235-244), Plaintiffs claim that all
                              Defendants violated Sections 903 and 911(c)(3) of the MCPA.
                             In count seven (see id. at ¶¶ 245-252), Plaintiffs allege that all
                              Defendants – except for ViSalus – have been unjustly enriched.
                                                             
 3
   In the title to count three, Plaintiffs assert that they are bringing this count
 against, among others, “Sarnicola, Blake, and Mallen.” (First. Am. Compl. at 173,
 Pg. ID 1133) (emphasis added.) No Defendant has the last name “Blake.” It
 appears Plaintiffs meant to name Ryan Blair in this count, and that the word
 “Blake” was a typographical error.


                                                                3
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                         PageID.1957    Page 5 of 55




                             In count eight (see id. at ¶¶ 253-258), Plaintiffs assert that ViSalus has
                              engaged in statutory and/or common law conversion in violation of
                              Michigan law.
                             In count nine (see id. at ¶¶ 259-264), Plaintiffs claim that all
                              Defendants engaged in a civil conspiracy.
                             In count ten (see id. at ¶¶ 265-269), Plaintiffs allege that ViSalus
                              violated Section 28 of the Michigan Franchise Investment Law (the
                              “MFIL”).
                             And, finally, in count eleven (see id. at ¶¶ 270-274), Plaintiffs assert
                              that all Defendants violated Section 5 of the MFIL.

 On August 31, 2015, Defendants filed the Motions, seeking to dismiss many of the

 claims Plaintiffs have asserted in the First Amended Complaint.4 (See ECF ## 61,

 62.) The Court heard oral argument on the Motions on January 20, 2016.

                                                                II.

               In the Motions, Defendants seek relief pursuant to Federal Rule of Civil

 Procedure 12(b)(6). Rule 12(b)(6) provides for dismissal of a complaint when a

 plaintiff fails to state a claim upon which relief can be granted. See Fed. R. Civ. P.

 12(b)(6). “To survive a motion to dismiss” under Rule 12(b)(6), “a complaint must

 contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009) (quoting Bell

                                                             
 4
  None of the Defendants have moved to dismiss counts five, eight, and ten of the
 First Amended Complaint. In addition, ViSalus, Goergen Sr., Goergen, Blair, and
 Mallen have not moved to dismiss count nine.


                                                                4
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1958    Page 6 of 55



 Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). A claim is facially plausible

 when a plaintiff pleads factual content that permits a court to reasonably infer that

 the defendant is liable for the alleged misconduct. Id. (citing Twombly, 550 U.S. at

 556). When assessing the sufficiency of a plaintiff’s claim, a district court must

 accept all of a complaint’s factual allegations as true. See Ziegler v. IBP Hog Mkt.,

 Inc., 249 F.3d 509, 512 (6th Cir. 2001). “Mere conclusions,” however, “are not

 entitled to the assumption of truth.    While legal conclusions can provide the

 complaint's framework, they must be supported by factual allegations.” Iqbal, 556

 U.S. at 664. A plaintiff must therefore provide “more than labels and conclusions,”

 or “a formulaic recitation of the elements of a cause of action” to survive a motion

 to dismiss. Twombly, 550 U.S. at 556. “Threadbare recitals of the elements of a

 cause of action, supported by mere conclusory statements, do not suffice.” Id. In

 addition, where, as here, there are allegations of fraud or mistake, Federal Rule of

 Civil Procedure 9(b) requires a plaintiff to “state with particularity the

 circumstances constituting fraud or mistake,” but “[m]alice, intent, knowledge, and

 other conditions of a person’s mind may be alleged generally.” See Fed. R. Civ.

 P. 9(b).




                                          5
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                                        PageID.1959   Page 7 of 55



                                                                         III.
                                                            (The Substantive RICO Claims)

               Section 1962(c) of RICO provides that

                              [i]t shall be unlawful for any person employed by or
                              associated with any enterprise engaged in, or the
                              activities of which affect, interstate or foreign commerce,
                              to conduct or participate, directly or indirectly, in the
                              conduct of such enterprise’s affairs through a pattern of
                              racketeering activity or collection of unlawful debt.

 18 U.S.C. § 1962(c). “To state a RICO claim, a plaintiff must plead the following

 elements: (1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering

 activity.” Ouwinga v. Benistar 419 Plan Servs., Inc., 694 F.3d 783, 792 (6th Cir.

 2012) (internal quotation marks omitted). A “pattern of racketeering activity”

 requires at least two predicate acts – i.e., certain offenses enumerated in 18 U.S.C.

 § 1961(1) – that occur within a ten-year period. See Moon v. Harrison Piping

 Supply, 465 F.3d 719, 723 (6th Cir. 2006) (citing 18 U.S.C. § 1961(5)).

               As described above, in count one of the First Amended Complaint, Plaintiffs

 allege that the ViSalus Defendants5, O’Toole, Pacetti, Fortner, Jackson, Craig,

 Wilson, Varon, Petrilli, and T. Kirkland violated Section 1962(c) (the “Section

 1962(c) Claim”). (See First Am. Compl. at ¶¶ 117-200.) These Defendants have

 now moved to dismiss the Section 1962(c) Claim on various grounds. The Court

                                                             
 5
  Previously defined herein as ViSalus, Goergen Sr., Goergen, Sarnicola, Blair, and
 Mallen.


                                                                          6
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1960     Page 8 of 55



 concludes the Section 1962(c) Claim is viable against some Defendants but not

 others.

                                          A.

       In the First Dismissal Order, the Court held that “in order to state a [Section]

 1962(c) claim against any Defendant, Plaintiffs must allege that [that] Defendant

 actually committed two predicate acts.” (First Dismissal Order at 48, Pg. ID 929.)

 Four Defendants – Goergen Sr., Goergen, Varon, and Petrilli – challenge the

 Section 1962(c) Claim on the basis that the First Amended Complaint fails to

 allege that they personally committed two RICO predicate acts. Plaintiffs counter

 that they have sufficiently pleaded that each of these Defendants committed at least

 two predicate acts of mail and/or wire fraud.          The Court agrees with the

 Defendants. The Court will therefore dismiss the Section 1962(c) Claim against

 Goergen Sr., Goergen, Varon, and Petrilli.

       Plaintiffs allege that Goergen Sr. committed mail and/or wire fraud through

 the following actions:

            Goergen Sr. appeared in a video “called ‘Billionaire, Bob Goergen
             CEO Blyth Inc.’” in which he “predicted ‘exponential growth’ . . . for
             ViSalus.”    An unidentified person or entity posted the video on
             YouTube. (First Am. Compl. at ¶130.)
            Defendant Blair interviewed and publicly praised Goergen Sr. for his
             “mentorship of the ViSalus business” and “involve[ment] in business
             decisions of [ViSalus], particularly since its near collapse in the 2008

                                           7
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                         PageID.1961     Page 9 of 55



                              recession.” ViSalus is alleged to have published a video of Blair’s
                              interview of Goergen Sr. on the internet. (Id. at ¶133.)
                             Goergen Sr. “[p]ublicly acknowledged [his] connection to the running
                              and operation of ViSalus” and was identified on a website promoting
                              the ViSalus Program as a member of the ViSalus “Executive Team.”
                              The author of the website is unidentified. (Id. at first ¶138.6)
                             On two identified occasions, Goergen Sr. spoke at ViSalus events
                              which ViSalus and other identified parties later published online.7
                              (See id. at second ¶138.)

               These allegations, even if true, would not establish that Goergen Sr.

 committed two acts of mail and/or wire fraud. In order to commit mail and/or wire

 fraud, a defendant must, among other things, actually use the mails or wires and/or

 cause another to use the mails or wires. See, e.g., Heinrich v. Waiting Angels

 Adoption Servs., Inc., 668 F.3d 393, 404 (6th Cir. 2012) (elements of mail and wire

 fraud include the “use of the mails in furtherance of the scheme” and/or the “use

 [of] the wires in furtherance of the scheme to defraud”). Plaintiffs simply do not

 allege that Goergen Sr. either used the mails or wires on at least two occasions or

 caused someone else to do so. Indeed, while Plaintiffs repeatedly allege – in the

                                                             
 6
   The Fist Amended Complaint contains two paragraphs labeled as paragraph 138.
 (See First Am. Compl. at 76-77, Pg. ID 1036-1037.) It appears that both
 paragraphs labeled as paragraph 138 allege that Goergen Sr. committed mail
 and/or wire fraud. (See id. at 119-121, Pg. ID 1079-1081.)
 7
   The statements and videos identified in the second paragraph 138 are the same
 statements and videos previously identified in paragraphs 130 and 133.


                                                                8
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1962    Page 10 of 55



 passive voice – that Goergen Sr. was featured in videos published online, Plaintiffs

 fail to plead any facts that would support a finding that Goergen Sr. caused the

 videos to be published online, authorized their publication, or even had knowledge

 that the videos were posted on the internet. Accordingly, the Section 1962(c)

 Claim fails as to Goergen Sr.

       Plaintiffs assert that Goergen committed the following predicate acts of mail
 and/or wire fraud:
            Goergen “[p]ublicly acknowledged [his] connection to the running
             and operation of ViSalus” and was identified on a website promoting
             the ViSalus Program as a member of the ViSalus “Executive Team.”
             The author of the website is unidentified. (First Am. Compl. at first
             ¶138.)
            Goergen was “identified” on the ViSalus website as a “founding
             investor” in the company and a “leader[]” of the company’s “board.”
             (Id. at ¶139.)
            Goergen was identified in public statements and on the ViSalus
             website as the “Chief Operating Officer” and “Chief Strategy Officer”
             of ViSalus. (Id.)
            Goergen attended a party promoting ViSalus at Sarnicola’s home.
             Video of portions of the party were published online by an
             unidentified party as a way of promoting ViSalus. (See id. at ¶141.)
            Goergen appeared at public events promoting ViSalus which were
             written about in stories posted on the internet by third parties. (See
             id.)



                                          9
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1963    Page 11 of 55



       These mail and/or wire fraud allegations are deficient for the same reasons

 that the mail and/or wire fraud allegations against Goergen Sr. were insufficient.

 Many of the allegations against Goergen are made in the passive voice and fail to

 plead that Goergen himself knew that any videos or articles would be posted online

 or that he caused them to be published online. Moreover, the allegations that

 Goergen appeared at public events (or, in the case of the party at Sarnicola’s home,

 an apparently private event) and made public comments do not establish that

 Goergen used the mails and/or wires. And while these allegations and others made

 against Goergen are enough to state other plausible claims against him, the alleged

 conduct simply does not amount to mail or wire fraud. See, e.g., Heinrich, 668

 F.3d at 404. Plaintiffs have failed to identify two or more RICO predicate acts

 with respect to Goergen, and their Section 1962(c) Claim against him fails.

       Plaintiffs allege that Varon and Petrilli committed the following predicate

 acts of mail and/or wire fraud:

             They agreed to be “featured in various ViSalus materials” and “were
              “knowing and willing participants in the promotion of the ViSalus
              pyramid scheme.” (Id. at ¶164.)
             They appeared at various ViSalus events as “keynote speakers” and,
              at least one time, as the recipients of a $500,000 check.          An
              unidentified party posted video of at least one of these public
              appearances on YouTube. (Id.)




                                         10
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                        PageID.1964   Page 12 of 55




                             They conducted “numerous recruiting seminars” in which they
                              emphasized the financial rewards individuals could gain from
                              participating in the ViSalus Program. (Id.)
                             They gave an “interview” – published by a third party on website not
                              operated by ViSalus – in which they promote the ViSalus Program,
                              claim that “hundreds” of people “won a free BMW” through the
                              ViSalus Program, and otherwise claim that anyone can be successful
                              if they sign up as a ViSalus IP. (Id. at ¶165.8)

               As the Court concluded with Goergen Sr. and Goergen, appearing at public

 events and making public statements at those events, standing alone, does not

 amount to mail and/or wire fraud. And there are no factual allegations that Varon

 or Petrilli caused the videos of their public appearances to be posted on the

 internet. Moreover, Plaintiffs have not alleged that Varon or Petrilli published

 and/or caused to be published any of the interviews they gave. Thus, Plaintiffs

 have not alleged that Varon or Petrilli committed at least two acts of mail or wire

 fraud. The Court therefore will dismiss Plaintiffs’ Section 1962(c) Claim against

 Goergen Sr., Goergen, Varon and Petrilli.




                                                             
 8
   Plaintiffs also claim that paragraph 156 includes allegations against Petrilli (see,
 e.g., First Am. Compl. at 144, Pg. ID 1104) but that paragraph does not relate to
 Petrilli. Instead, that paragraph states allegations against Defendant Jackson. (See
 id. at ¶156.)


                                                                11
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1965    Page 13 of 55



                                          B.

       In the First Dismissal Order, the Court held that in order to sufficiently

 allege the causation element of their Section 1962(c) Claim, Plaintiffs “must allege

 a clear causal connection between [each] Defendant’s alleged predicate acts and

 their injuries.” (ECF #54 at 53, Pg. ID 934.) The Court explained that Plaintiffs

 needed to plead “a logical theory directly linking each Defendant’s predicate acts

 to their alleged injuries.” (Id.) A plaintiff can satisfy this requirement by pleading

 facts that “show that the defendants’ wrongful conduct was a substantial and

 foreseeable cause of the injury and the relationship between the wrongful conduct

 and the injury is logical and not speculative.” In re ClassicStar Mare Lease Litig.,

 727 F.3d 473, 487 (6th Cir. 2013) (internal quotation marks omitted) (emphasis

 added).

       In the Motions, Defendants argue that Plaintiffs have failed to satisfy these

 causation pleading requirements. Plaintiffs counter that they have alleged a logical

 theory directly linking each Defendant to their claimed injuries. The Court

 concludes that Plaintiffs have sufficiently alleged proximate cause as to ViSalus,

 Sarnicola, Blair, and Mallen, but have not done so with respect to the remaining




                                          12
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                           PageID.1966    Page 14 of 55



 Defendants named in the Section 1962(c) Claim (O’Toole, Pacetti, Fortner,

 Jackson, Craig, Wilson, and T. Kirkland). 9

                                                                1.

               The proximate cause allegations against ViSalus, Sarnicola, Blair, and

 Mallen are sufficient to state a Section 1962(c) claim against these Defendants.

 Plaintiffs have alleged that these Defendants created and implemented the ViSalus

 Program, a fraudulent pyramid scheme that was intended to defraud individuals in

 Plaintiffs’ position, and that the ViSalus Program did in fact defraud them. Stated

 another way, Plaintiffs contend that these Defendants devised a fraudulent scheme,

 “aimed” it at them, and hit their mark.                             For instance, Plaintiffs allege that

 Sarnicola, Blair, and Mallen:

                             Were “co-founders and principle creators of the [ViSalus] pyramid
                              scheme.” (First Am. Compl. at ¶¶ 126, 212.)
                             Were ViSalus’s “top controlling management” and were “the
                              company’s frontmen to the public.” (Id. at ¶131.)
                             Were “personally involved in [ViSalus’s] strategic decision-making[]
                              and otherwise managed the significant affairs of [ViSalus].” (Id.)




                                                             
 9
   Because the Court has concluded that Plaintiffs have failed to plead the required
 predicate acts against Defendants Goergen Sr., Goergen, Varon, and Petrilli, it will
 not analyze the other requirements of Plaintiffs’ Section 1962(c) Claim against
 these Defendants.


                                                                13
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1967    Page 15 of 55




            “[A]ppeared at the ViSalus meetings and conventions . . . [and]
             allowed their presentations to be recorded and distributed” to promote
             the ViSalus Program. (Id.)
             “Distribute[d] professionally-edited videos posted on the [internet]
             which tout the success of the [ViSalus Program], [ViSalus], and
             themselves” and which promoted to potential recruits “how easy it is
             to start earning an income” through the ViSalus Program. (Id. at ¶90.)
            “[I]ntended to falsely convey the impression to people like Plaintiffs
             that participation as a ViSalus IP was legal; that they had a reasonable
             opportunity to make money; that people just like them were able to
             make generous income; and that the commissions or bonuses they
             would receive would come from the sale of desirable product.” (Id. at
             ¶195.)
            “Directly authored and/or approved of the dissemination of the
             ViSalus compensation plan,” which was given to each Plaintiff at the
             ViSalus events they attended and used to induce Plaintiffs to enroll as
             ViSalus IPs. (Id. at ¶196.)
            Had the “goal” of having potential recruits like Plaintiffs “subscribe,
             by the payment of money to ViSalus, to the compensation plan.” (Id.)
            Had “personally [] active roles in promoting the ViSalus
             compensation plan and pitching the idea that the ViSalus
             compensation plan is a viable and attractive ‘business opportunity.’”
             (Id. at ¶143; see also ¶144.)
            Implemented plans to “hugely expand[] and accelerat[e] the growth of
             the pyramid scheme” by “increasing recruitment of unsuspecting
             people to join the pyramid scheme.” (Id. at ¶134.)



                                           14
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                            PageID.1968    Page 16 of 55




                             “Control[led] and direct[ed] [] websites, web presentations, events,
                              sponsored conventions, and speeches” promoting the ViSalus
                              Program. (Id. at ¶171.)

               Plaintiffs allege that the fraudulent mechanisms created and put in place by

 these Defendants induced them to sign up as ViSalus IPs and to lose the money

 they paid to ViSalus. (See, e.g., id. at ¶8.)                       Plaintiffs have therefore sufficiently

 pleaded that the actions of ViSalus, Sarnicola, Blair, and Mallen were a

 “substantial” and “foreseeable” cause of their alleged injuries. In re ClassicStar

 Mare Lease Litig., 727 F.3d at 487. Accordingly, Plaintiffs have sufficiently

 alleged that the predicate acts of these Defendants proximately caused their alleged

 injuries.10

                                                             
 10
    Certain language in the First Dismissal Order could arguably be read to stand for
 the proposition that where a RICO plaintiff alleges predicate acts of mail or wire
 fraud, he must connect his injury to a specific mailing or wiring in order to
 establish causation. (See First Dismissal Order at 52-53, Pg. ID 933-34.) That is
 not the rule, and the Court did not mean to so hold. As the Court explained, a
 RICO plaintiff must directly connect his injury to the defendant’s predicate acts.
 Importantly, an alleged predicate act of mail or wire fraud consists of more than
 just the mailing or the wiring. Indeed, the mailing or wiring is simply the “hook”
 that brings the alleged fraud within the jurisdiction of the federal courts. The
 predicate act includes the scheme to defraud as well as the mailing or wiring.
 Thus, where a RICO plaintiff alleges predicate acts of mail or wire fraud, the
 causation inquiry may expand beyond the acts of mailing and wiring and may
 include a consideration of each defendant’s personal conduct within the fraudulent
 scheme and whether that conduct directly injured the plaintiff. See Wallace v.
 Midwest Fin. & Mortg. Serv., 714 F.3d 414, 419-21 (6th Cir. 2013) (finding
 causation satisfied where court was able to “trace a straight line” between
 defendants’ conduct within a fraudulent scheme and plaintiff’s injuries).


                                                                15
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1969   Page 17 of 55



                                         2.

       Plaintiffs’ causation allegations against Defendants O’Toole, Pacetti,

 Fortner, Jackson, Craig, Wilson, and T. Kirkland are deficient. Plaintiffs have not

 sufficiently alleged that the purportedly-fraudulent conduct by these Defendants

 “led directly to [their] injuries.” Bridge v. Phoenix Bond & Indem., 553 U.S. 639,

 655 (2008). The Court will therefore dismiss the Section 1962(c) Claim against

 these Defendants.

       Plaintiffs allege that these Defendants (among other things) promoted the

 ViSalus Program at recruiting events, in videos posted on the internet, and in

 advertisements.     But Plaintiffs do not allege that they ever met any of these

 Defendants, saw any of these Defendants make presentations (either online or in

 person), watched or read any of the videos or promotional materials these

 Defendants allegedly disseminated, or engaged in any transactions with these

 Defendants. Instead, Plaintiffs allege that these Defendants made false statements

 in promotional materials and videos “that a prospective purchaser, like each

 Plaintiff, could easily find.” (Pls.’ Resp. Br. at 14, ECF #67 at 19, Pg. ID 1696)

 (emphasis added.) But Plaintiffs do not allege that they actually did “find” any of

 the alleged false statements these Defendants purportedly made, nor do Plaintiffs

 allege that any of the false statements by these Defendants directly impacted them

 (Plaintiffs) in any way. The link between the promotional activities of these



                                         16
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16       PageID.1970    Page 18 of 55



 Defendants is too attenuated from Plaintiffs’ injuries to satisfy the required causal

 connection required for Plaintiffs’ Section 1962(c) Claim.

       Plaintiffs respond that, under Bridge, supra, they need not plead that they

 personally relied on any statement any of these Defendants may have made. While

 that is true, Plaintiffs still need to plead “some direct relation between the injury

 asserted and the injurious conduct alleged.” Heinrich, 668 F.3d at 405 (quoting

 Holmes v. Sec. Investor Pro. Corp., 503 U.S. 258, 268 (1992)). And they have

 failed to do so. Plaintiffs have simply not alleged that “wrongful conduct” by these

 Defendants “was a substantial and foreseeable cause of the[ir] injur[ies].” In re

 ClassicStar Mare Lease Litig., 727 F.3d at 487. Plaintiffs’ causation allegations

 against these Defendants are therefore insufficient.

       At oral argument, Plaintiffs’ counsel offered the following theory of

 causation against these Defendants: (1) they were videotaped accepting large fake

 checks or giving misleading pitches at ViSalus-sponsored events; (2) they intended

 that these videos would be shown at other ViSalus-sponsored events and made

 available on the internet; and (3) Plaintiffs saw these videos at ViSalus-sponsored

 events they attended. (See January 20, 2016 Hrg. Tr., ECF #72 at 36-38, Pg. ID

 1857-59.)   Plaintiffs’ counsel insisted that these videos made Plaintiffs more

 susceptible to the sales pitch made by the ViSalus representatives at the events




                                          17
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16       PageID.1971    Page 19 of 55



 Plaintiffs attended and thus caused Plaintiffs’ injuries. (See id.) This argument

 fails for two reasons.

       First, the First Amended Complaint does not allege that the Plaintiffs

 actually saw any videos featuring these Defendants. Rather, Plaintiffs allege, for

 example, only that “[t]he [ViSalus events] attended by [Plaintiff] Kerrigan also

 featured check-presentation ceremonies like the one in the Miami convention . . .

 where, among others, Defendant Craig was shown with a $1M check and

 Defendant Rachel Jackson with a $500,000 check.” (First Am. Compl. at ¶8)

 (emphasis added.) Allegations that Plaintiffs saw videos or re-enactments “like”

 the ones in which the Defendants participated do not establish the required direct

 link between Plaintiffs’ injuries and alleged misconduct by these Defendants.

       Second, and in any event, in Heinrich, supra, the Sixth Circuit rejected a

 theory of causation much like Plaintiffs’ theory based upon Defendants’

 appearances in the videos. The plaintiffs in Heinrich were parents seeking to adopt

 children through an agency.      They claimed, among other things, that certain

 individuals associated with the agency defrauded them into making payments to

 adopt children who were not actually available to be adopted. The plaintiffs

 asserted RICO claims and alleged that the defendants committed predicate acts of

 mail and wire fraud. In an attempt to satisfy the causation element of their RICO

 claim, the plaintiffs asserted that certain defendants caused their injury by sending



                                          18
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                        PageID.1972      Page 20 of 55



 them false reference letters (in support of the agency) that made the plaintiffs more

 willing to trust the agency’s false promises of available children. The Sixth Circuit

 rejected this theory of RICO causation:

                              [Plaintiffs’ causation] argument appears to be that the
                              positive references served as an inducement to do
                              business with Waiting Angels. But any injuries they may
                              have suffered were not the direct result of the alleged
                              fraudulent conduct. Rather, the false references helped
                              put the [plaintiffs] in a position to be defrauded by other,
                              unrelated representations concerning the availability of
                              specific children or how adoption fees will be spent. The
                              false references, while perhaps a “but for” cause of the
                              [plaintiffs’] injuries, did not proximately result in any
                              harm to their business or property.

 Heinrich, 668 F.3d at 405 (emphasis added).

               The same analysis would apply here if the Plaintiffs had actually heard the

 allegedly false statements allegedly made by these Defendants in the videos. Like

 the fraudulent reference letters in Heinrich, the videos that allegedly featured these

 Defendants would merely have “help[ed] put the [Plaintiffs] in a position to be

 defrauded by other, unrelated representations” made by the ViSalus representatives

 at the events Plaintiffs actually attended.11 For this additional reason, Plaintiffs’

                                                             
 11
    The Court recognizes, as it did in the First Dismissal Order (see ECF #54 at 53-
 54 n.22, Pg. ID 934-35), that proximate cause is often better addressed at the
 summary judgment stage rather than on a motion to dismiss. See Trollinger v.
 Tyson Foods, Inc., 370 F.3d 602, 615 (6th Cir. 2004). The Court again notes,
 however, that the Sixth Circuit has, on multiple occasions, addressed proximate
 causation under Section 1962(c) at the pleading stage, and has found causation
  


                                                                19
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                                                                                PageID.1973                       Page 21 of 55



 causation allegations against Defendants O’Toole, Pacetti, Fortner, Jackson, Craig,

 Wilson, and T. Kirkland are deficient.

                                                                                             C.

               Defendants ViSalus, Sarnicola, Blair, and Mallen argue that Plaintiffs have

 failed to state a Section 1962(c) Claim against them because Plaintiffs have not

 pleaded that they acted with scienter. Plaintiffs can satisfy this requirement by

 pleading that these Defendants “acted either with a specific intent to defraud or

 with recklessness with respect to potentially misleading information.” Heinrich,

 668 F.3d at 404. These Defendants maintain that the Plaintiffs have failed to meet

 this standard because “the line between a legitimate multi-level marketing system

 and an illegal pyramid scheme is blurry at best,” (ECF #62 at 19, Pg. ID 1643), and

 Plaintiffs have not pleaded facts that “support a plausible inference that [these

 Defendants] knew that ViSalus [was] a pyramid scheme and thus acted with

 fraudulent intent in failing to disclose that supposed fact.” (ECF #62 at 17, Pg. ID

 1641) (emphasis removed). The Court disagrees.12


                                                                                                                                                                                                 
 allegations deficient at that stage. See Heinrich, 668 F.3d at 405-07 (alleged mail
 and wire fraud did not satisfy RICO proximate causation requirement); Pik-Coal
 Co. v. Big Rivers Electric Corp., 200 F.3d 884 (6th Cir. 2000) (same).
 12
   Because the Court has concluded that Plaintiffs have failed to plead the required
 causation against Defendants O’Toole, Pacetti, Fortner, Jackson, Craig, Wilson,
 and T. Kirkland, it will not analyze whether Plaintiffs have sufficiently pleaded
 that these Defendants acted with the requisite scienter.


                                                                                             20
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1974    Page 22 of 55



        The First Amended Complaint contains myriad specific allegations that

 Sarnicola, Blair, and Mallen (1) understood that the dividing line between a

 legitimate multi-level marketing company and an illegal pyramid scheme turned on

 whether the operation focused on recruitment of new members rather than upon

 making actual sales, (2) knew that the ViSalus Program focused more on recruiting

 new IPs than selling ViSalus’s weight-loss products, and (3) created and

 implemented a system in which ViSalus promoters across the country would make

 fraudulent pitches in support of the ViSalus Program.        By way of example,

 Plaintiffs allege that:

              Sarnicola, Blair, and Mallen “had prior experience with recruiting-
               based network marketing schemes,” and, “by 2005,” knew that
               “ViSalus was operating a pyramid scheme, an enterprise in which
               recruiting members predominated over selling of product.” (First Am.
               Compl. at ¶125.)
              ViSalus’s own website stated that Mallen “had a decade of network
               marketing experience prior to the founding of ViSalus.” (Id. at ¶126)
               (internal quotation marks omitted.)
              Sarnicola “had a long history of involvement with multi-level
               marketing companies.” (Id. at ¶127.)
              Sarnicola, Blair, and Mallen “oversaw the operation of the [ViSalus]
               compensation plan” and were “personally involved in the company’s
               strategic decision-making, and otherwise managed the significant
               affairs of [ViSalus].” (Id. at ¶131.)



                                            21
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1975     Page 23 of 55




             Sarnicola, Blair, and Mallen “orchestrated” the hiring of distributors
              from other companies who were “presented as distributors just like
              innocent recruits when in fact” they were given far more favorable
              treatment than the recruits – treatment that unfairly enabled them to
              succeed while the recruits would fail. (Id. at ¶135.)
             Sarnicola, Blair, and Mallen “were aware that [ViSalus’s] valuation
              depended on . . . illegal recruiting activities . . . fueled by recruiting
              bonuses.” (Id. at ¶142.)
             Sarnicola, Blair, and Mallen “made all fundamental decisions
              regarding [the ViSalus Program’s] operation and finances and knew
              that the true facts concerning the operation of the [program] fit every
              criterion of an illegal pyramid or were reckless to that possibility.”
              (Id. at ¶187.)

 Based on these and other allegations in the First Amended Complaint (many of

 which are identified above), the Court concludes that Plaintiffs have successfully

 pleaded that Defendants ViSalus, Sarnicola, Mallen, and Blair acted with the

 requisite scienter.

                                               D.

       Defendant ViSalus seeks dismissal of Plaintiffs’ Section 1962(c) Claim on

 the ground that “Plaintiffs have not pled the existence of a RICO enterprise distinct

 from ViSalus itself.” (ECF #62 at 22, Pg. ID 1646.) The Court concludes that

 Plaintiffs have pled a distinct enterprise.




                                               22
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16         PageID.1976     Page 24 of 55



       To plead a Section 1962(c) claim, a plaintiff “must allege . . . the existence

 of two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the

 same ‘person’ referred to by a different name.” In Re ClassicStar Mare Lease

 Litig, 727 F.3d at 490 (internal quotation marks omitted). Under this principle,

 “known as the ‘non-identity’ or ‘distinctness’ requirement,” a corporation “may

 not be liable under Section 1962(c) for participating in the affairs of an enterprise

 that consists only of its own subdivisions, agents, or members. An organization

 cannot join with its own members to undertake regular corporate activity and

 thereby become an enterprise distinct from itself.” Id. (quoting Begala v. PNC

 Bank, 214 F.3d 776, 781 (6th Cir. 2000)). But an organization can join with

 independent entities and individuals to form a distinct enterprise.           Thus, in

 ClassicStar, the Sixth Circuit held that the “distinctness” requirement was satisfied

 where, among other things, “the alleged RICO enterprise was comprised of other

 entities that were neither owned by [the defendant organization] nor acting as its

 agents.” Id.

       The allegations in the First Amended Complaint satisfy the “distinctness”

 requirement. Plaintiffs have alleged that the enterprise consisted of ViSalus, its

 officers, and numerous independent outside promoters (the IPs).           Importantly,

 Plaintiffs allege that the IPs played a role in the enterprise that was wholly distinct

 from that of ViSalus. Plaintiffs claim that IPs promoted ViSalus products and the



                                           23
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1977    Page 25 of 55



 ViSalus lifestyle to unwitting recruits. (See, e.g., First Am. Compl. at ¶¶ 96, 156,

 158.) Meanwhile, ViSalus, the corporate entity, provided the overall structure for

 the ViSalus Program and was responsible for the company’s day-to-day operations,

 such as mailing out weight-loss products to customers and IPs who purchased

 them. (See id. at ¶¶ 47, 176.) That ViSalus and the IPs played different roles in

 the alleged scheme underscores that the overall enterprise was distinct from

 ViSalus.

       ViSalus counters that Plaintiffs have not satisfied the standard for

 distinctness established by the United States Court of Appeals for the Seventh

 Circuit in Fitzgerald v. Chrysler Corp., 116 F.3d 225 (7th Cir. 1997).            In

 Fitzgerald, the plaintiffs brought a RICO class action against Chrysler and its

 dealers alleging various acts of fraud related to the sale of vehicle warranties. The

 Seventh Circuit held that the plaintiffs’ RICO claim failed as to Chrysler because

 the plaintiffs had failed to plead that Chrysler and its dealers were sufficiently

 distinct. The Seventh Circuit stressed that the dealers had only an “incidental role

 in the alleged fraud” and did not add “an air of legitimacy” to the sale of the

 warranties. Id. at 227-28. The court concluded that Chrysler did “not establish[]

 dealerships in order to fool car buyers into thinking that they are not dealing with

 the ‘racketeer’ Chrysler, or to enable Chrysler to engage in fraud on a scale that

 would be impossible if it internalized the dealership function.” Id. at 228.



                                          24
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16       PageID.1978    Page 26 of 55



       But here, Plaintiffs allege that the IPs played more than an incidental role in

 the fraud – far more. Plaintiffs contend that the IPs played a central role in the

 overall scheme by duping potential recruits into signing up for the ViSalus

 Program. Plaintiffs also allege that the IPs added a critical “air of legitimacy” to

 the ViSalus Program by posing as false success stories and promoting the idea that

 anybody could become rich through the ViSalus Program. The alleged enterprise

 here thus has the two key features missing from the enterprise alleged in

 Fitzgerald. Thus, Fitzgerald does not support dismissal of the Section 1962(c)

 Claim against ViSalus.

                                         IV.
                           (The RICO Conspiracy Claim)

       Plaintiffs allege that all of the Defendants named in the First Amended

 Complaint violated Section 1962(d) of RICO by conspiring to violate Section

 1962(c) (the “RICO Conspiracy Claim”). (See First Am. Compl. at ¶¶ 201-214.)

 Defendants argue that the RICO Conspiracy Claim fails as a matter of law because

 Plaintiffs have failed to allege that any of the Defendants committed a substantive

 violation of Section 1962(c). (ECF #62 at 27 n.17, Pg. ID 1651, citing Heinrich,

 668 F.3d at 411; see also ECF #61 at 9-10, Pg. ID 1600-01.) The Court concludes

 that Plaintiffs have sufficiently alleged the RICO Conspiracy Claim against all of

 the Defendants other than Ropart Asset Management Fund, LLC, Ropart Asset



                                         25
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                 PageID.1979   Page 27 of 55



 Management Fund II, LLC, Freedom Legacy, LLC, Wealth Builder International,

 Inc., and Residual Marketing, Inc. (hereinafter the “Entity Defendants”).13 The

 Court will therefore dismiss the RICO Conspiracy Claim against the Entity

 Defendants only.

               The Sixth Circuit has held that in order “[t]o plausibly state a claim for a

 violation of 18 U.S.C. § 1962(d), plaintiffs must successfully allege all the

 elements of a RICO violation, as well as alleging the existence of an illicit

 agreement to violate the substantive RICO provision.” Heinrich, 668 F.3d at 411

 (internal quotation marks omitted). But this does not mean that in order to assert a

 RICO conspiracy claim against a particular defendant, a plaintiff must first assert a

 viable substantive RICO claim against that defendant. Indeed, the Sixth Circuit

 has expressly held that a defendant may be liable for RICO conspiracy under

 Section 1962(d) even where the defendant has not personally committed a

 substantive RICO violation. See United States v. Driver, 535 F.3d 424, 432 (6th

 Cir. 2008) (holding that even if the defendant did not violate Section 1962(c), he

 could still be found to have violated Section 1962(d)). Instead, in order to state a

                                                             
 13
    The Court has reviewed the RICO conspiracy allegations against the Entity
 Defendants and concludes they are insufficient to state a viable RICO conspiracy
 claim. The Entity Defendants are alleged to be wholly-owned and/or controlled by
 certain of the individual Defendants, but Plaintiffs have not pleaded factual
 allegations to support a finding that these entities entered into any agreement to
 violate Section 1962(c).


                                                                26
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1980   Page 28 of 55



 viable RICO conspiracy claim against a particular defendant, a plaintiff must

 sufficiently allege “that a co-conspirator violated Section 1962(c)” and that the

 defendant “agreed to further or facilitate the criminal endeavor by agreeing that

 someone, although not necessarily himself, would ‘commit two predicate acts.’”

 Siddle v. Crants, 650 F. Supp. 2d 773, 785 (M.D. Tenn. 2009) (quoting Driver, 535

 F.3d at 432).

       Plaintiffs have satisfied this standard. As explained above, Plaintiffs have

 sufficiently alleged that Defendants ViSalus, Sarnicola, Blair, and Mallen

 committed substantive RICO violations under Section 1962(c). And Plaintiffs

 have sufficiently pleaded that those four Defendants and the remaining individual

 Defendants entered into an agreement under which they all agreed (1) to further the

 criminal endeavor and (2) that one of the members of the conspiracy would

 commit a pattern of predicate acts. This agreement “can be inferred from the

 individual defendants’ involvement” in the alleged scheme. Heinrich, 668 F.3d at

 411. See also In Re ClassicStar Mare Lease Litig., 823 F. Supp. 2d 599, 638 (E.D.

 Ky. 2011) (conspiracy to violate RICO “may be inferred from circumstantial

 evidence which may reasonably be interpreted as participation in common plan”).

       The following allegations, among others, support an inference that the

 Defendants entered into a common plan or scheme to violate Section 1962(c) of

 RICO:



                                         27
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16       PageID.1981   Page 29 of 55




            Based on agreements made between them and Sarnicola, “Defendants
             O’Toole, Varon, Petrilli, Pacetti, Fortner, Wilson, and [T.] Kirkland
             all agreed to join [ViSalus] by leaving other network marketing
             companies between 2009 and 2011[] [and] to actively expand the
             promoter base for ViSalus.” (First Am. Compl. at ¶149.)
            Defendants O’Toole, Varon, Petrilli, Pacetti, Fortner, Wilson, and T.
             Kirkland, “in return for payments and inducements not made available
             to the targets of the pyramid scheme,” agreed to “pitch[] the notion of
             wealth, BMW’s and six-figure incomes if [targets of the scheme]
             ‘joined’ the [ViSalus] ‘business opportunity.’” (Id.)
            Defendants O’Toole, Varon, Petrilli, Pacetti, Fortner, Wilson, and T.
             Kirkland “understood that the role they were to play was to recruit as
             many unsuspecting people as possible into the ViSalus scheme, to
             pretend that they were simply people ‘just like’ unwitting participants
             invited to attend the ViSalus presentation[s], that they were to use
             scripted materials at the conventions, that they were to appear in ads
             and to give false testimonials. Each of them understood and knew,
             based on their prior experience, that the ViSalus plan promoted
             recruiting over product sales. Each of them understood that they were
             to use social media to coat the Internet in the message that ViSalus
             was a great income opportunity. Each of them understood that the
             terms of their distributor relationship with ViSalus was materially
             different than the people they were to recruit.” (Id.)
            Defendants O’Toole, Varon, Petrilli, Pacetti, Fortner, Wilson, and T.
             Kirkland “made false statements intended to be disseminated to
             unsuspecting recruits . . . all with the intent to lure people into the
             system that each [of these] Defendant[s] knew was highly unlikely to

                                         28
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1982    Page 30 of 55



             make any money, or could only make money by committing illegal
             recruiting activities, i.e., victimizing someone else.” (Id. at ¶150.)
            Defendant Fortner (1) was given “undisclosed special incentives,
             payments or deals to be placed within the commission-payment
             scheme ahead of or ‘upline’ of Plaintiffs and others” and “agreed that
             this arrangement be kept undisclosed from innocent recruits” (id. at
             ¶153), (2) “falsely claimed” to make hundreds of thousands of dollars
             from the ViSalus Program (id. ¶154), and (3) “[w]as a knowing and
             willing participant in the promotion of the ViSalus pyramid scheme.”
             (Id. at ¶155.)
            Defendant Jackson (1) made “false and misleading” claims about her
             supposed “success” with ViSalus (id. at ¶156), (2) received “certain
             payments or benefits and agreed that this arrangement be kept from
             innocent recruits” (id.), and (3) “[w]as a knowing and willing
             participant in the promotion of the ViSalus pyramid scheme.” (Id. at
             ¶157.)
            Defendant Craig (1) “was formerly the ViSalus Director of Sales,
             North America” (id. at ¶159), (2) “obtained [] substantial undisclosed
             benefits or payments promised by ViSalus,” (id.), and (3) “was a
             knowing and willing participant in the promotion of the ViSalus
             pyramid scheme.” (Id.)
            Defendant H. Kirkland “appeared and allowed herself to be portrayed
             as a ‘successful’ promoter holding a check which she knew was false.
             She knew or reasonably should have known that the compensation
             system she and her husband were selling, touting or offering to people
             like the Plaintiffs was a recruiting-based pyramid scheme.” (Id. at
             ¶207.)

                                          29
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1983    Page 31 of 55




             Goergen acted as ViSalus’s “Chief Operating Officer” and, later, was
              the company’s “Chief Operating Officer.” (Id. at ¶131.)
             In 2008, after Goergen Sr. invested substantial funds in ViSalus
              through a second company he controlled (see id. at ¶¶ 125-130),
              Goergen Sr. and Goergen “agreed” with ViSalus, Sarnicola, Blair, and
              Mallen “to pump up the ViSalus revenues by hugely expanding the
              growth of the pyramid scheme. This was with the goal of greatly
              increasing recruitment of unsuspecting people to join the pyramid
              scheme.” (Id. at ¶134.)
             “From 2008-2013,” Goergen[] Sr. and Goergen, along with Sarnicola,
              Blair, and Mallen, “controlled the direction and strategy of ViSalus’s
              operation of the pyramid scheme.” (Id. at ¶132.)
             Goergen Sr. and Goergen, together with the other ViSalus Defendants,
              “directly authored and/or approved of the dissemination of the
              ViSalus compensation plan….” (Id. at ¶196.)

       From these allegations and others in the First Amended Complaint, the

 Court can infer that the Defendants, except for the Entity Defendants noted above,

 agreed to participate in a common plan that harmed Plaintiffs. Plaintiffs have

 therefore stated a sufficient claim under Section 1962(d) against these Defendants.

                                         V.

           (The Securities Fraud Claims Under Section 10b and Rule 10b-5)

       In count three of the First Amended Complaint, Plaintiffs allege – as an

 alternative theory of liability to their claims under RICO – that the ViSalus




                                         30
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                      PageID.1984     Page 32 of 55



 Defendants14 violated Section 10b (5 U.S.C. § 78j(b)) and Rule 10b-5 (17 C.F.R.

 § 240.10b-5) of the federal securities laws. (See First Am. Compl. at ¶¶ 215-223.)

 Under these provisions, “in connection with the purchase or sale of any security,”

 it is unlawful

                              (a) To employ any device, scheme, or artifice to defraud

                              (b) To make any untrue statement of a material fact or to
                              omit to state a material fact necessary in order to make
                              the statements made, in the light of the circumstances
                              under which they were made, not misleading, or

                              (c) To engage in any act, practice, or course of business
                              which operates or would operate as a fraud or deceit
                              upon any person[.]

 17 CFR § 240.10b-5(a)-(c).

               Plaintiffs maintain that the ViSalus Defendants violated Rule 10b-5(b) by

 making material misrepresentations and/or omissions and violated Rules 10b-5(a)

 and (c) by operating a fraudulent scheme. The Court will address these two

 theories of liability in turn.15


                                                             
 14
  Previously identified as ViSalus, Goergen Sr., Goergen, Sarnicola, Blair, and
 Mallen.
 15
   Plaintiffs concede that the First Amended Complaint, as currently pleaded, does
 not expressly state a “scheme to defraud” claim under Rule 10b-5(a) and (c). But
 Plaintiffs have argued both to the ViSalus Defendants and the Court that such a
 “scheme” claim can be inferred from the totality of their allegations. The Court
 will thus analyze both the “misrepresentation” claim under Rule 10b-5(b) and the
 “scheme liability” claim for the sake of efficiency.


                                                                31
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1985      Page 33 of 55



                                          A.

       To state a claim under Rule 10b-5(b), “a plaintiff must [plead] and prove: (1)

 a material misrepresentation or omission by the defendant, (2) scienter, (3) a

 connection between the misrepresentation or omission and the purchase or sale of a

 security, (4) reliance upon the misrepresentation or omission, and (5) loss

 causation.” Stoneridge Investment Partners, LLC v. Scientific-Atlanta, Inc., 128 S.

 Ct. 157 (2008).    In addition, a private plaintiff bringing a securities fraud claim

 under Rule 10b-5(b) must satisfy the requirements of the Private Securities

 Litigation Reform Act, 15 U.S.C. § 78u-4 (the “PSLRA”). Among other things,

 the PSLRA requires a plaintiff to “specify each statement alleged to have been

 misleading, [and] the reason or reasons why the statement is misleading,” 15

 U.S.C. §78u-4(b)(1), and a plaintiff must “state with particularity facts giving rise

 to a strong inference that the defendants acted with the required state of mind.” 15

 U.S.C. §78u-4(b)(2).

       In their 10b-5(b) claim, Plaintiffs allege that the ViSalus Defendants:

              made material misrepresentations and/or omissions in
              connection with the sale of distributorships to Plaintiffs
              and the class. The Defendants falsely represented that
              they were conveying a legal business opportunity, when,
              in fact, they and each of them knew or recklessly ignored
              that Plaintiffs were purchasing an interest in an illegal
              pyramid scheme. . . . In the alternative, Defendants’
              actions omitted material facts, i.e., that they were selling
              an interest in a pyramid scheme, in connection with the
              sale of distributorships.

                                          32
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1986    Page 34 of 55




 (First Am. Compl. at ¶218).       At oral argument, Plaintiffs clarified that the

 misrepresentations and/or omissions underlying this claim appeared in (1) the

 ViSalus compensation plan and (2) various advertisements promoting the ViSalus

 Program. (See Tr., ECF #72 at 68, Pg. ID 1889.) The documents containing the

 claimed misrepresentations and/or omissions are attached to the First Amended

 Complaint as Exhibits A and B. (See ECF ## 55-1 – 55-3.)

       The ViSalus Defendants attack Plaintiffs’ 10b-5(b) claim on several

 grounds. First, the ViSalus Defendants argue that Plaintiffs have failed to plead

 that they relied on “a single misrepresentation or omission” when they signed up to

 become a ViSalus IP.      (See ECF #62 at 11-12, Pg. ID 1635-36.)         Plaintiffs

 acknowledged at oral argument that, as currently pleaded, the First Amended

 Complaint does not contain any allegations that Plaintiffs actually saw or read

 either the compensation plan or the ViSalus advertisements that form the entirety

 of Plaintiffs’ 10b-5(b) claim. (See Tr. at 70, Pg. ID 1891.) But Plaintiffs’ counsel

 represented to the Court that Plaintiffs could make such allegations if given the

 opportunity to file a Second Amended Complaint. (See id.) The Court will

 therefore dismiss Plaintiffs’ 10b-5(b) claim but permit them to file a Second

 Amended Complaint amending this claim to allege that the named Plaintiffs (1)




                                         33
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                           PageID.1987   Page 35 of 55



 read and relied upon the compensation plan and (2) saw and relied upon specific

 advertisements. That amendment will cure the current reliance deficiency.16

               The ViSalus Defendants next argue that liability under Rule 10b-5(b) “is

 limited to the ‘maker’ of the misrepresentation or omission,” Janus Capital Group,

 Inc. v. First Derivative Traders, 131 S. Ct. 2296 (2011), and that here “the only

 ‘maker’ of an alleged misrepresentation or mission is ViSalus.” (ECF #62 at 3-4,

 Pg. ID 1627-28.) The ViSalus Defendants thus argue that Plaintiffs have failed to

 state a 10b-5(b) claim against any of them except for ViSalus. The Court agrees.

               Notably, Plaintiffs’ briefing offers no substantive response to the ViSalus

 Defendants’ argument that ViSalus is the sole “maker” of the statements at issue.

 And at oral argument, Plaintiffs could not identify any “maker” of the

 advertisements other than ViSalus.                             With respect to the compensation plan,

 Plaintiffs argued only that Sarnicola, Blair, Mallen, Goergen Sr., and Goergen

 made the statements therein because they were the plan’s “authors.” (Hearing Tr.

 at 69, Pg. ID 1890; see also First Am. Compl. at ¶196.) But Janus expressly

 rejected the argument that authoring or drafting a statement is the same as making
                                                             
 16
   As stated above, Plaintiffs’ Rule 10b-5(b) claim fails to state a claim against any
 of the ViSalus Defendants because Plaintiffs have failed to plead the required
 element of reliance. However, for the sake of efficiency and to provide maximum
 guidance to the parties, the Court will examine and rule on the ViSalus
 Defendants’ remaining arguments with respect to the Rule 10b-5(b) claim on the
 assumption that Plaintiffs will be able to cure the lack of reliance allegations
 through the filing of a Second Amended Complaint.


                                                                34
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                 PageID.1988   Page 36 of 55



 the statement. See Janus, 131 S. Ct. at 2303 (rejecting argument that “‘make’

 should be defined as ‘create’”). Moreover, the Supreme Court in Janus stressed

 that “attribution within a statement or implicit from surrounding circumstances is

 strong evidence that a statement was made by – and only by – the party to whom it

 is attributed,” Janus, 131 S. Ct. at 2302 (emphasis added), and the only ViSalus

 Defendant identified in the compensation plan is ViSalus.                   The plan never

 mentions, much less attributes its contents to, Sarnicola, Blair, Mallen, Goergen

 Sr., Goergen, or any other individual. (See ECF #55-1.) Because Plaintiffs have

 failed to rebut the ViSalus Defendants’ argument that ViSalus is the sole “maker”

 of the statements in question, Plaintiffs’ Rule 10b-5(b) claim fails as to all ViSalus

 Defendants except ViSalus.17


                                                             
 17
    In a footnote in a section of Plaintiffs’ response brief discussing a wholly
 separate issue – whether Plaintiffs have pleaded the required scienter for their Rule
 10b-5 claim – Plaintiffs maintain that the ViSalus Defendants “acknowledge[d in
 the Motions] that responsibility for the business opportunity extends to the
 individuals who created it and caused it to be distributed.” (Pls.’ Br. at 27 n.35,
 Pg. ID 1709.) In support of this position, Plaintiffs’ cite to a Section of
 Defendants’ motion in which Plaintiffs contend the ViSalus Defendants
 “acknowledge” that, under Janus, the “‘maker’ of a statement is the ‘person or
 entity with ultimate authority over the statement, including its content and whether
 and how to communicate it.” (ECF #62 at 4, Pg. ID 1628 (quoting Janus, 131 S.
 Ct. at 2302)). But the ViSalus Defendants certainly have not “acknowledged” that
 any of them “made” the statements at issue. It is conceivable that Plaintiffs could
 present a theory, supported by specific factual allegations and supporting case law,
 as to how the individual ViSalus Defendants qualify as the “makers” of the
 compensation plan. But they have not yet done so.


                                                                35
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1989    Page 37 of 55



       ViSalus next argues that Plaintiffs’ 10b-5(b) claim fails because Plaintiffs

 have failed to plead that ViSalus acted with the required scienter. (See ECF #62 at

 7-11, Pg. ID 1631-35.) ViSalus contends that even if the knowledge of Sarnicola,

 Blair, and Mallen could be imputed to the company, see In Re Omnicare Sec.

 Litig., 769 F.3d 455, 476 (6th Cir. 2014) (holding that under certain circumstances,

 the knowledge (and thus, scienter) of a company’s officers or agents may be

 imputed to the company), “the facts alleged do not support a strong inference that

 any of the individual defendants . . . knew that ViSalus was a pyramid scheme.”

 (See id. at 11, Pg. ID 1635.) ViSalus thus argues that Plaintiffs have fallen short of

 the demanding scienter standard that the PSLRA demands. (See id.)

       The Court acknowledges that the PSLRA requires Plaintiffs to plead

 particular facts that “give[] rise to a strong inference” of scienter. 15 U.S.C. §78u-

 4(b)(1). But the Court concludes that this standard is satisfied here. As explained

 above, the First Amended Complaint contains detailed allegations that Sarnicola,

 Blair, and Mallen (1) knew the dividing line between a legitimate multi-level

 marketing company and an illegal pyramid scheme, (2) knew that ViSalus fell on

 the wrong side of that line, and (3) knew that promoters across the country were

 actively misleading people in an effort to sign up more IPs for the ViSalus

 Program. (See, e.g., First Am. Compl. at ¶¶ 125-127, 131, 135, 142, 187.) These




                                          36
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                 PageID.1990   Page 38 of 55



 allegations satisfy even the heightened scienter pleading standard under the

 PSLRA.

               ViSalus also argues that the key omission identified by Plaintiffs – the

 failure to state in the compensation plan and promotional materials that the ViSalus

 Program was a pyramid scheme – is not actionable under Rule 10b-5(b) because

 ViSalus had no obligation to disclose that alleged fact. ViSalus argues that that

 alleged fact constitutes “soft information,” and it contends that “soft information”

 need only be disclosed “only if it is virtually as certain as hard facts.” (ECF #62 at

 5, Pg. ID 1629, quoting Zaluski v. United Am. Healthcare Corp., 527 F.3d 564,

 572 (6th Cir. 2008).) But there is an exception to that rule: “if a complaint

 adequately alleges that the defendants knew of the illegal nature of their conduct at

 the time they made the allegedly material misstatement, courts will impose a duty

 of disclosure.” Chamberlain v. Reddy Ice Holdings, Inc., 757 F. Supp. 2d 683, 707

 (E.D. Mich. 2010). As described above, Plaintiffs have sufficiently alleged in the

 First Amended Complaint that ViSalus (through its principals) knew that its

 conduct was an illegal and fraudulent pyramid scheme.18 Accordingly, ViSalus


                                                             
 18
    Defendants’ counsel candidly conceded at oral argument that if the “factual
 allegations in the Complaint were sufficient to establish certain Defendants knew
 that what they were saying was a misrepresentation or omission” then the Court
 would have to “deny the motion with regards to those Defendants.” (January 20,
 2016 Hrg. Tr., ECF #72 at 88, Pg. ID 1909.)


                                                                37
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1991    Page 39 of 55



 had a duty to disclose that alleged fact to potential ViSalus IPs, and the omission of

 that alleged is actionable.

                                          B.

       Plaintiffs also maintain that the ViSalus Defendants participated in a

 “scheme to defraud” in violation of Rules 10b-5(a) and (c). These provisions make

 it illegal “to employ any device, scheme, or artifice to defraud” and “to engage in

 any act, practice, or course of business which operates or would operate as a fraud

 or deceit upon any person, in connection with the purchase or sale of any security.”

 17 CFR § 240.10b-5(a), (c). “To state a claim based on conduct that violates Rule

 10b-5(a) and (c), [a] plaintiff must allege that a defendant (1) committed a

 deceptive or manipulative act, (2) with scienter, that (3) the act affected the market

 for securities or was otherwise in connection with their purchase or sale, and that

 (4) defendants' actions caused the plaintiffs’ injuries.” In re Parmalat Sec. Litig.,

 376 F. Supp. 2d 472, 492 (S.D.N.Y. 2005) (emphasis removed) (testing claims

 under 10b-5(a) and (c) against the same pleading standard). In addition, because

 scheme liability claims “sound in fraud,” a plaintiff must also satisfy the pleading

 requirements of Rule 9(b) by “specify[ing] what deceptive or manipulative acts

 were performed, which defendants performed them, when the acts were performed,

 and what effect the scheme had on investors in the securities at issue.” Id. Finally,

 in order to state a viable scheme liability claim, a plaintiff must identify an



                                          38
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.1992   Page 40 of 55



 allegedly “deceptive or manipulative act” by the defendant beyond making a

 misstatement or omission (which is prohibited under Rule 10b5-(b)). See, e.g.,

 Benzon v. Morgan Stanley Distrib., Inc., 420 F.3d 598, 610 (6th Cir. 2005) (“Rules

 10b-5(a) and (c) encompass conduct beyond disclosure violations”) (emphasis

 added).

       The ViSalus Defendants first argue that Plaintiffs’ scheme liability claim

 under Rules 10b–5(a) and (c) fails because Plaintiffs have “not described . . . any

 inherently deceptive conduct that furthered the scheme[] which is separate and

 apart from the misrepresentations or omissions alleged in support of their Rule

 10b-5(b) claims.” (Defs.’ Supp. Br., ECF #73 at 2, Pg. ID 1933) (emphasis

 removed). The Court disagrees.

       As described above, Plaintiffs have alleged that the ViSalus Defendants

 knowingly created, implemented, and operated a pyramid scheme. That conduct is

 inherently fraudulent wholly apart from any allegedly-misleading statements. See

 e.g., United States v. Gold Unlimited, 177 F.3d 472, 484 (6th Cir. 1999)

 (“Unquestionably, an illegal pyramid scheme constitutes a scheme to defraud.”).

 Simply put, the operators of a pyramid scheme engage in fraudulent and deceptive

 conduct even if the operators make no false statements to potential enrollees about

 the enrollees’ chances for success. Thus, the “operation of a pyramid scheme

 violates 10b-5's prohibition against engaging in an ‘act, practice or course of



                                         39
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                 PageID.1993   Page 41 of 55



 business which operates as a fraud or deceit upon any person.’”                   Webster v.

 Omnitrition Int’l., Inc., 79 F.3d 776, 785 (9th Cir. 1996) (quoting 17 C.F.R. §

 240.10b-5(c)); see also In re Silicon Graphics, Inc. Sec. Litig., 970 F. Supp. 746,

 761 (N.D. Cal. 1997) (“[P]articipants may … be liable [under Rule 10b-5] for their

 involvement in a pyramid scheme.”).19

               The ViSalus Defendants also argue that Plaintiffs have failed to plead that

 they operated the alleged scheme with the required particularity. The Court again

 disagrees. As described above, the Plaintiffs have sufficiently alleged that the

 ViSalus Defendants created, structured, operated, funded, and controlled the

 alleged pyramid scheme. The Court is satisfied that the Plaintiffs have sufficiently

 pleaded their scheme liability claim against the ViSalus Defendants.




                                                             
 19
    A number of courts have held that a defendant may be liable under a scheme
 liability theory where he “arrang[ed] for the dissemination of false or misleading
 statements” that promoted a scheme to defraud. SEC v. Farmer, 2015 WL
 5838867, at *15-16 (S.D. Tex. Oct. 7, 2015); SEC v. Crushen, 888 F. Supp. 2d
 1299, 1308 (S.D. Fla. 2012) (granting summary judgment to plaintiff where
 plaintiff claimed, among other things, that defendant created a deceptive media
 campaign). Here, Plaintiffs have alleged that the ViSalus Defendants arranged for
 numerous individuals to falsely promote ViSalus across the country. Because the
 Court has concluded that the ViSalus Defendants’ operation of the alleged pyramid
 scheme itself is inherently fraudulent conduct, it need not decide at this time
 whether the ViSalus Defendants could also be liable under the scheme liability
 theories advanced in Farmer and Crushen. If necessary, the Court can revisit this
 question at the summary judgment stage of the proceedings.


                                                                40
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1994     Page 42 of 55



                                          VI.
                  (The Securities Fraud Claim Under Section 12(2))

       In count four of the First Amended Complaint, Plaintiffs allege that all

 Defendants violated Section 12(2) of the Securities Act of 1933, 15 U.S.C. §

 771(2). This section provides that any person who

              offers or sells a security . . . by the use of any means or
              instruments of transportation or communication in
              interstate commerce or of the mails, by means of a
              prospectus or oral communication, which includes an
              untrue statement of a material fact or omits to state a
              material fact necessary in order to make the statements,
              in the light of the circumstances under which they were
              made, not misleading (the purchaser not knowing of such
              untruth or omission), and who shall not sustain the
              burden of proof that he did not know, and in the exercise
              of reasonable care could not have known, of such untruth
              or omission, shall be liable . . . to the person purchasing
              such security from him.

       In Pinter v. Dahl, 486 U.S. 622 (1988), the United States Supreme Court

 addressed the scope of a “seller” of a security under a related statute, 15 U.S.C.

 § 771(1) (“Section 12(1)”). The Supreme Court held that in order to qualify as a

 “seller” under Section 12(1), a defendant must either (1) “pass[] title, or other

 interest in the security, to the buyer for value,” id. at 642, or (2) “successfully

 solicit[] the purchase” of a security.     Id. at 649.    Thus, “[b]eing merely a

 ‘substantial factor’ in causing the sale . . . is not sufficient in itself to render a

 defendant liable” if the Defendant did not solicit the ultimate purchase. Id. at 654.



                                          41
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                 PageID.1995   Page 43 of 55



 The Sixth Circuit “appl[ies] this test” for “seller” status to claims brought under

 Section 12(2). Smith v. Am. Nat’l Bank & Trust Co., 982 F.2d 936, 942 (6th Cir.

 1992).

               The Defendants argue that only ViSalus meets the definition of “seller”

 applicable to Section 12(2) claim. The Court agrees and will dismiss the Section

 12(2) claim against all Defendants except for ViSalus.

               ViSalus is the only Defendant alleged to have passed to Plaintiffs any

 interest in a security. Thus, the remaining Defendants could be deemed Section

 12(2) “sellers” only if they “solicited” Plaintiffs’ purchase of securities. They did

 not.            “To count as ‘solicitation,’ the seller must, at a minimum, directly

 communicate with the buyer,” Rosenzweig v. Azurix Corp., 332 F.3d 854, 871 (5th

 Cir. 2003),20 and Plaintiffs do not allege that they had any direct contact with any

 of the remaining Defendants. Thus, the remaining Defendants did not solicit any

 of the Plaintiffs’ purchases and are not “sellers” under Section 12(2).

               Plaintiffs counter that several federal courts have found a “solicitation” even

 in the absence of direct contact between a plaintiff and a defendant. (See Pls.’

 Supp. Br., ECF #74 at 6-7, Pg. ID 1948-49, citing, among other cases, In re Sirrom
                                                             
 20
    See also In re Nat’l Century Fin. Enters., Inc., 846 F. Supp. 2d 828, 904 (S.D.
 Ohio 2012) (noting that a “solicitation” requires direct contact); Pullins v. Klimley,
 2008 WL 85871, at *16 (S.D. Ohio Jan. 7, 2000) (“To establish liability as a seller,
 a plaintiff must demonstrate direct and active participation in the solicitation of the
 immediate sale.”).  


                                                                42
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1996    Page 44 of 55



 Capital Corp. Sec. Litig., 84 F. Supp. 2d 933, 945 (M.D. Tenn. 1999), In re Trade

 Partners, Inc. Investors Litig., 2008 U.S. Dist. LEXIS 66464, at **66-68 (W.D.

 Mich. Aug. 15, 2008), and In re Prison Realty Sec. Litig., 117 F. Supp. 2d 681

 (M.D. Tenn. 2000).) However, even if the Court adopted the broader view urged

 by Plaintiffs – that a solicitation does not require direct contact – that would be no

 help to Plaintiffs here. A solicitor becomes a “seller” under Section 12(2) only if

 he solicits “the purchase” under attack, Pinter, 486 U.S. at 649 (emphasis added),

 and while Plaintiffs allege that the certain individual Defendants engaged in

 solicitation activities, they do not allege that they actually saw and/or were aware

 the specific activities by the individual Defendants. Thus, even under the broader

 view of “solicitation” urged by Plaintiffs, the individual Defendants do not qualify

 as Section 12(2) “sellers.”

       ViSalus further argues that Plaintiffs’ Section 12(2) claim fails because it

 (ViSalus) did not have a duty to disclose “soft information.” (See ECF #62 at 14-

 15, Pg. ID 1638-1639.) But for all of the reasons stated above, the Court concludes

 that under the facts alleged in the First Amended Complaint, ViSalus did have a

 duty to disclose. Thus, Plaintiffs may pursue their Section 12(2) claim against

 ViSalus.




                                          43
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1997    Page 45 of 55



                                         VII.
                     (The Claim Under Section 903 of the MCPA)

          In count six of the First Amended Complaint, Plaintiffs allege that all

 Defendants violated Section 903 of the MCPA. (See First Am. Compl. at ¶¶ 235-

 244.) Section 903 prohibits, among other things, deceptive practices in the conduct

 of trade or commerce. See MCL § 445.903. Plaintiffs allege that Defendants

 violated Section 903 of the MCPA “in that they authored or knowingly permitted

 and encouraged the dissemination of the ViSalus compensation plan.” (Id. at

 ¶237.)     All Defendants except for ViSalus have moved to dismiss Plaintiffs’

 Section 903 claim on the basis that Plaintiffs have failed to plead that Defendants

 committed a deceptive act with the required particularity. (See ECF #62 at 27, Pg.

 ID 1651; ECF # 61 at 10-12, Pg. ID 1601-03.) The Court concludes that this count

 fails against all Defendants because the First Amended Complaint does not

 currently contain an allegation that the Plaintiffs read and/or relied upon the

 compensation plan. The Court will therefore dismiss the section 903 claim against

 all Defendants. However, as described above with respect to Plaintiffs’ Rule 10b-

 5(b) claim, Plaintiffs’ counsel represented to the Court that this deficiency could be

 cured through the filing of a Second Amended Complaint. The Court will allow

 such an amendment. Once so amended, the Court concludes that this count will

 state a viable Section 903 claim against Defendants ViSalus, Sarnicola, Blair, and



                                          44
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.1998   Page 46 of 55



 Mallen, but not against any of the other Defendants.

       As described in detail above, Plaintiffs allege that Sarnicola, Blair, Mallen,

 Goergen Sr., and Goergen drafted the misleading compensation plan and put in

 place the mechanisms through which ViSalus delivered the plan to potential IPs.

 (See, e.g., First Am. Compl. at ¶196.) At the pleading stage, these allegations are

 sufficient to state a claim that Sarnicola, Blair, Mallen, Goergen Sr., and Goergen

 violated Section 903 once Plaintiffs file a Second Amended Complaint that alleges

 that they read and/or relied upon the compensation plan.

       However, Plaintiffs have failed to sufficiently connect any of the remaining

 Defendants to their (the Plaintiffs’) receipt and review of the compensation plan.

 For instance, Plaintiffs do not allege that any other Defendants gave them the plan,

 showed them the plan, told them to review the plan, established the marketing

 program that led to their review of the plan, and/or directed anyone else to show

 them the plan. Thus, Plaintiffs have failed to plead the required specific facts

 necessary to state against these Defendants a viable Section 903 claim related to

 the compensation plan.




                                         45
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                               PageID.1999   Page 47 of 55



                                                                   VIII.
                                     (The Claim Under Section 911(3)(c) of the MCPA)

               Plaintiffs allege in count six of the First Amended Complaint that

 Defendants violated MCL § 445.911.                                   (See First Am. Compl. at ¶243.) That

 provision bars a party from engaging in any

                              method, act, or practice in trade or commerce declared by
                              a circuit court of appeals or the supreme court of the
                              United States to be an unfair or deceptive trade act or
                              practice within the meaning of … 15 U.S.C. § 45(a)(1),
                              in a decision which affirms or directs the affirmance of a
                              cease and desist order issued by the [F]ederal [T]rade
                              [C]omission . . . and which is officially reported not less
                              than 30 days before the method, act, or practice on which
                              the action is based occurs.

 M.C.L. § 445.911(3)(c) (emphasis added).

               However, Plaintiffs have failed to identify any “officially reported” decision

 of the United States Supreme Court or of a United States Court of Appeals that

 qualifies under this provision.                                In the First Amended Complaint, Plaintiffs

 identified three decisions: FTC v. Skybiz.com, 57 Fed. App’x 374 (10th Cir. 2003);

 In re Koscot Interplanetary, Inc., 86 F.T.C. 1106 (1975), aff’d sub nom. Turner v.

 FTC, 520 F.2d 701 (D.C. Cir. 1978), and Ger-Ro Mar, Inc. v. FTC, 518 F.2d 33

 (2d Cir. 1975).21 Both Skybiz.com and In re Koscot are unpublished decisions.

 And while Plaintiffs have argued that an “unpublished” decision qualifies as an
                                                             
 21
    Plaintiffs’ counsel could not identify any other cases when questioned at oral
 argument. (See Tr. at 99-100, Pg. ID 1920-1921.)


                                                                    46
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.2000    Page 48 of 55



 “officially reported” one for purposes of Section 911(3)(c), they have not cited any

 authority for that proposition.    Ger-Ro Mar, which is an officially reported

 decision affirming in part a cease and desist order issued by the FTC, is no help to

 Plaintiffs. As Defendants accurately point out, the United States Court of Appeals

 for the Second Circuit in Ger-Ro Mar actually reversed that portion of the FTC’s

 order finding the existence of a pyramid scheme. Thus, Ger-Ro Mar is not a

 reported decision affirming a cease and desist order directed at conduct like that

 alleged here. Because Plaintiffs have failed to identify any decision that qualifies

 under the statute, their claim under MCL § 445.911 fails as a matter of law.

                                         IX.
                                (Unjust Enrichment)

       In count seven of the First Amended Complaint, the Plaintiffs allege that all

 Defendants (except for ViSalus) were unjustly enriched. (See First Am. Compl. at

 ¶¶245-258.) Defendants seek dismissal of this claim on two grounds.

       First, Defendants argue that “the facts alleged do not plausibly connect the

 enrichment each Defendant received and the benefit each Plaintiff conferred.”

 (ECF #62 at 29, Pg. ID 1653; see also ECF #61 at 13, Pg. ID 1604.) But Plaintiffs

 have pleaded that the individual Defendants were “upline from the Plaintiffs” in

 the ViSalus pyramid and that this placement caused the Defendants to receive

 “bonuses and commissions . . . . [w]hich were necessarily funded by a portion of



                                         47
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16      PageID.2001   Page 49 of 55



 the Plaintiffs’ [purchases].” (First Am. Compl. at ¶250.) By alleging that each

 individual Defendant received some portion of the money Plaintiffs’ paid to

 ViSalus (as that money was directly funneled upline), Plaintiffs have sufficiently

 connected their own losses to a gain by the individual Defendants.

       Second, Defendants argue that “the unjust enrichment claim fails because

 there is no underlying tort claim remaining against the individual Defendants who

 were allegedly unjustly enriched.” (ECF #62 at 29-30, Pg. ID 1653-54.) However,

 the Court is not aware of any authority that a claim for unjust enrichment under

 Michigan law must rest on an underlying tort, and Defendants have not cited any

 such authority. Unjust enrichment is a quasi-contractual remedy, and Michigan

 courts generally apply contractual, not tort-based, rules to unjust enrichment

 claims. See, e.g., Miller v. Laidlaw & Co. (UK) Ltd., No. 11-12086, 2012 WL

 1068705, at *11 (E.D. Mich. Mar. 29, 2012) (“Claims for unjust enrichment are the

 equitable counterpart to a claim for breach of contract and Michigan courts have

 held that statute of limitations apply to equitable claims by analogy.”).

 Defendants have not persuaded the Court that Plaintiffs’ unjust enrichment claim

 fails because it does not rest on an underlying tort.




                                           48
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                                           PageID.2002   Page 50 of 55



               The Court does agree, however, that the unjust enrichment claim fails

 against the Entity Defendants22.                                         The connection between the detriment to

 Plaintiffs and the alleged benefit to the Entity Defendants is simply too attenuated

 to state a viable unjust enrichment claim. Plaintiffs have stated a viable unjust

 enrichment claim against the individual Defendants but not the Entity Defendants.

                                                                            X.
                                                                (Claim for Civil Conspiracy)

               In count nine of the First Amended Complaint, Plaintiffs assert that all

 Defendants engaged in a civil conspiracy to commit various common law torts and

 other unlawful acts (such as violating RICO). (See First Am. Compl. at ¶¶ 259-

 264.) The Entity Defendants and Defendants Sarnicola, O’Toole, Pacetti, Fortner,

 Jackson, Craig, Wilson, Varon, Petrilli, T. Kirkland, H. Kirkland, Varon, and

 Petrilli (for purposes of this paragraph only, the “Promoter Defendants”), have now

 moved to dismiss this count on two grounds. (See ECF #61 at 14-16, Pg. ID

 1605-07.)

               First, the Promoter Defendants and the Entity Defendants argue that

 Plaintiffs have failed to state a claim for civil conspiracy because Plaintiffs have

 not pleaded that each of the Promoter and Entity Defendants individually

                                                             
 22
    Previously defined herein as Ropart Asset Management Fund, LLC, Ropart
 Asset Management Fund II, LLC, Freedom Legacy, LLC, Wealth Builder
 International, Inc., and Residual Marketing, Inc.


                                                                            49
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.2003    Page 51 of 55



 committed a separate tort. (See id. at 14, Pg. ID 1605.) In support of this position,

 the Promoter Defendants and the Entity Defendants understandably rely on the

 portion of the First Dismissal Order in which the Court dismissed Plaintiffs’ civil

 conspiracy claim because Plaintiffs had not pleaded “a separate, actionable tort as

 to each Defendant.” (First Dismissal Order at 70, Pg. ID 951.) The Court rested

 this holding on the long-standing rule under Michigan law that “a claim for civil

 conspiracy may not exist in the air; rather, it is necessary to prove a separate,

 actionable tort.” (Id., quoting Advocacy Org. for Patients and Providers v. Auto

 Club Ins. Ass’n, 670 N.W.2d 569, 580 (Mich. Ct. App. 2003).)

       Upon additional review, the Court concludes that it read the Michigan

 separate, actionable tort rule too broadly. The rule states only that Plaintiffs must

 plead a “separate, actionable tort,” not that such a tort must be pleaded against

 each member of the alleged conspiracy. And the Court’s broad reading – requiring

 an actionable tort to be pleaded against all alleged conspirators – renders the notion

 of a conspiracy superfluous: where all of the conspirators have personally

 committed an underlying tort, the conspiracy claim would simply duplicate the

 underlying tort claims.

       Moreover, a defendant who enters into an agreement with another person

 who actually commits a tort or crime can plainly be liable for conspiracy even

 where the defendant does not personally commit the underlying tort or substantive



                                          50
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.2004    Page 52 of 55



 offense. See, e.g., Driver, supra (holding that defendant may be liable for RICO

 conspiracy even where he does not personally commit an underlying substantive

 RICO violation); BancorpSouth Bank v. Herter, 643 F. Supp. 2d 1041, 1056 (W.D.

 Tenn. 2009) (“Conspiracy . . . imposes liability on persons who, although not

 actually committing a tort themselves, share with the immediate tortfeasors a

 common plan or design in its perpetration. By participation in a civil conspiracy, a

 coconspirator effectively adopts as his or her own the torts of other coconspirators

 within the ambit of the conspiracy.” (emphasis added)). Thus, the Court concludes

 that under a proper application of Michigan’s separate, actionable tort rule, in order

 to plead a viable conspiracy claim, a plaintiff must sufficiently plead (1) an

 underlying tort claim against at least one of the defendants and (2) that the other

 defendants entered into an agreement with the tortfeasor that included the

 commission of the tort. Plaintiffs have done that.

       Second, the Promoter Defendants and the Entity Defendants argue that

 Plaintiffs have failed to sufficiently plead that these Defendants entered into any

 conspiracy – with ViSalus or anyone else. (See ECF #61 at 14-16, Pg. ID 1605-

 1607.) But, as the Court explained in detail above, such an agreement among the

 Promoter Defendants may be inferred from the detailed factual allegations




                                          51
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16                                     PageID.2005   Page 53 of 55



 included in the First Amended Complaint.23 (See, e.g., First Am. Compl. at ¶212,

 Pg. ID 1409.) The Promoter Defendants have therefore not presented any basis

 under which the Court may dismiss Plaintiffs’ civil conspiracy claim.

                                                                          XI.
                                                     (Claim Under Section 5 of the MFIL)

               In count eleven of the First Amended Complaint, Plaintiffs allege that all

 Defendants violated Section 5 of the MFIL, MCL § 445.1505. (See First Am.

 Compl. at ¶¶ 270-274.)                                         Section 5(a) of the MFIL prohibits a person from

 “employ[ing] any device, scheme, or artifice to defraud” in connection with the

 filing, offer, sale, or purchase of any franchise. M.C.L. § 445.1505(a). Plaintiffs

 allege that Defendants violated this provision when they engaged in a “scheme” to

 defraud Plaintiffs by having them sign up for the ViSalus Program. (See First Am.

 Compl. at ¶273.) The Defendants argue that liability under Section 5 is limited to

 persons who offer or sell a franchise and that Plaintiffs’ Section 5 claims should

 thus be dismissed against all Defendants other than ViSalus. The Court agrees.

               While Section 5 sets forth certain prohibited conduct, it does not contain its

 own private right of action authorizing a private plaintiff to sue for its violation. A

 different section of the MFIL, Section 31, MCL § 445.1531, is the only provision
                                                             
 23
    The Court does agree, for the same reasons discussed above with respect to
 Plaintiffs’ RICO claim under Section 1962(d), that Plaintiffs have failed to state a
 cognizable conspiracy claim against the Entity Defendants.  


                                                                          52
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16        PageID.2006   Page 54 of 55



 of the MFIL that creates a private right of action. Thus, a plaintiff seeking to sue

 for a violation of Section 5 can only do so by bringing a claim under Section 31.

       Section 31 authorizes a private civil action against a person “who offers or

 sells a franchise in violation of Section 5.” MCL § 445.1531 (emphasis added).

 Thus, Section 31 “only imposes liability on a person who offers or sells a franchise

 in violation of [Section] 5.” Franchise Mgmt. Unlimited, Inc. v. Am.'s Favorite

 Chicken, 561 N.W.2d 123, 129 (Mich. Ct. App. 1997). Since ViSalus is the only

 Defendant who offered or sold an alleged franchise to Plaintiffs, the claim for

 violation of Section 5 of the MFIL fails as to all other Defendants.

                                         XII.
                        (Conclusion and Summary of Ruling)

       For the reasons stated above, IT IS HEREBY ORDERED that the Motions

 (ECF ## 61, 62) are GRANTED IN PART AND DENIED IN PART as

 described above. In summary, the Court dismisses the following claims:

             Count one is DISMISSED against all Defendants except for ViSalus,
              Sarnicola, Blair, and Mallen.
             Count two is DISMISSED against the Entity Defendants only.
             Plaintiffs’ 10b-5(b) claim in count three is DISMISSED against all
              Defendants.
             Count four is DISMISSED against all Defendants except for ViSalus.
             Count six is DISMISSED against all Defendants.
             Count nine is DISMISSED against the Entity Defendants only.


                                          53
Case 2:14-cv-12693-MFL-DRG ECF No. 75 filed 03/09/16         PageID.2007       Page 55 of 55




             Count eleven is DISMISSED against all Defendants except for
              ViSalus.

       The Court will convene a telephone call with counsel for all parties to

 discuss the filing of a Second Amended Complaint; the possible curing of the

 pleading deficiencies identified herein; and the next steps in this action.

       IT IS SO ORDERED.

                                         s/Matthew F. Leitman
                                         MATTHEW F. LEITMAN
                                         UNITED STATES DISTRICT JUDGE

 Dated: March 9, 2016

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on March 9, 2016, by electronic means and/or ordinary
 mail.

                                                s/Holly A. Monda
                                                Case Manager
                                                (313) 234-5113




                                           54
